                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

RENATA SINGLETON; MARC MITCHELL;
LAZONIA BAHAM; JANE DOE; TIFFANY
LACROIX; FAYONA BAILEY; and SILENCE                 Civil Action No. 17-10721
IS VIOLENCE,
                                                    Section H
       Plaintiffs,                                  Judge Jane Triche Milazzo

v.                                                  Division 1
                                                    Magistrate Judge Janis van Meerveld
LEON CANNIZZARO, in his official capacity as
District Attorney of Orleans Parish and in his
individual capacity; DAVID PIPES; IAIN
DOVER; JASON NAPOLI; ARTHUR
MITCHELL; TIFFANY TUCKER; MICHAEL
TRUMMEL; MATTHEW HAMILTON; INGA
PETROVICH; LAURA RODRIGUE; and JOHN
DOE, in their individual capacities,

       Defendants.


               EX PARTE MOTION TO REMOVE FILING FROM DOCKET

       Leon Cannizzaro (in his official capacity as Orleans Parish District Attorney), through

undersigned counsel, respectfully moves to remove or strike an erroneously filed document from

the Court’s docket. On November 30, 2017, a Motion to Dismiss was filed on behalf of Mr.

Cannizzaro. Doc. No. 28. That filing erroneously included an incomplete draft in progress that

was not intended for filing. Because the filing includes counsel’s unfinished draft, Mr.

Cannizzaro respectfully requests that it be stricken from the public docket.



                                                     Respectfully submitted,

                                                      /s/ THOMAS J. BARERA
                                                     THOMAS J. BARBERA (18719)
                                                     1010 Common Street, Suite 3000
                                                     New Orleans, LA 70112
                                                     Counsel for Leon Cannizzaro (in his
                                                     OFFICIAL capacity);
                              CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of November, 2017, a copy of the foregoing was

filed electronically with the Clerk of Court using the CM/ECF system, and that service will be

provided through the CM/ECF system, as well as by U.S. Mail for any non-CM/ECF participant.


                                                   /s/ THOMAS J. BARBERA




                                              2
